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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
District of Columbia
US DOMINION, INC., ET AL )
Plaintiff )
V. ) Case No. = 1:21-CV-02131
PATRICK BYRNE )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

PATRICK BYRNE, DEFENDANT.

Date: 03/04/2024 /S/ STEFANIE LAMBERT

Attorney’s signature

STEFANIE LAMBERT

Printed name and bar number

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